        Case 1:20-cv-03010-APM Document 262-1 Filed 12/03/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.



 STATE OF COLORADO, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM
                                                      HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                                Defendant.


                   [PROPOSED] ORDER TO BIFURCATE PROCEEDINGS

       The Parties in the above-captioned actions have jointly requested to bifurcate the

proceedings to hold separate trials on liability and, if necessary, remedy.

       Rule 42(b) of the Federal Rules of Civil Procedure authorizes a court to hold a separate

trial on one or more separate issues, “[f]or convenience, to avoid prejudice, or to expedite and

economize.” The Court has considered the Parties’ requests for separate trials in this matter

regarding (a) the liability of the Defendant for violations of Section 2 of the Sherman Act, 15

U.S.C. § 2, as alleged by the U.S. Plaintiffs and the Plaintiff States, and (b) the remedies for any

such violations.
        Case 1:20-cv-03010-APM Document 262-1 Filed 12/03/21 Page 2 of 2




       The Court finds that, to the extent necessary, holding separate trials on the issues of

liability and remedies will be more convenient for the Court and the Parties, and will expedite

and economize this litigation.

       IT IS THEREFORE ORDERED

       1.      There will be a liability phase in each matter that will address only the

Defendant’s liability under the Sherman Act, and, if the Court renders a decision finding the

Defendant liable, the Court will hold separate proceedings regarding the remedies for

Defendant’s violation(s) of the Sherman Act.

       2.      During the liability phase, expert discovery and testimony need not offer specific

opinions regarding particular remedies beyond that necessary to demonstrate liability under

Section 2 of the Sherman Act.

       3.      Nothing in this Order shall (a) alter the Parties’ respective abilities in either action

to offer evidence relevant to any issue in the liability proceedings nor alter the burden of proof,

persuasion, or production to establish each and every element of liability, justifications, or

defenses, or (b) prohibit or limit discovery during the liability phases of these actions on issues

relevant to liability under Section 2 of the Sherman Act.



 Dated:                                                  _____________________________
                                                                   Amit. P. Mehta
                                                          United States District Court Judge
